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                                                                          EXHIBIT B




                                                                ZURICH
 Zurich
 Surety & Financial Claims
 P. 0. Box 968033
 Schaumburg, IL 60196

                                   May 16, 2014

 E-MAIL & MAIL                                  jcorIey@wwp-lawcom
 Jonathan K. Corley
 Whittelsey, Whittelsey, Poole & Corley, P.C.
 P.O. Box 106
 Opelika, AL 36803-0106

 Re: Claim Now               638 0064285
       Bond No.:             PRF 9045595
       Principal:            W.G. Yates .& Sons Construction Company
       Obligee:              Auburn University
       Project:              Auburn University South Donahue Residence Hall &
                             Parking Facilities
        Claimant:            Pro Lawns, Inc.
        Claimed Amount:      $183,287.16
 Dear Mr. Corley:

 As you know, pursuant to a separate Co-Surety Agreement, Fidelity and Deposit
 Company of Maryland (F&D") is the Lead Surety and is responsible for
 investigating this claim on behalf of itself and Travelers Casualty & Surety
 Company of America (collectively, the "Sureties") and for responding to this
 claim on the Sureties' behalf.

 For the following reasons, the Sureties decline to make payment for the claim
 asserted by Pro Lawns, Inc. ("Pro Lawns").

 A provision in the subcontract between W.G. Yates & Sons Construction
 ("Yates"), Article XII Changes, provides that no payment is due Pro Lawns unless
 Pro Lawns has received a written change order or directive signed by Yates'
 authorized representative According to Article XII, this is true even if Pro Lawns
 received verbal direction from Yates or the owner. (There has been no indication
 that any verbal directions were given.)

 Part of the claim consists of change orders totaling $37,906. None of the change
 orders submitted in support of the claim are signed No documents were
 received for the $15,085.00 change order for "Topsoil in Court Yard and North
 side".
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 Another part of the claim consists of three invoices and a "Storage and Care
 Statement" totaling $25,803.16. No other documentation to support this part of
 the claim was submitted.

 Article V of the subcontract, entitled Breach, Default, Supplementation, and
 Termination, allows for supplementation of Pro Lawns' work by Yates. Yates
 supplemented Pro Lawns' performance and has asserted two back charges
 totaling $87,763.43 for the supplementation. Additionally, Yates declined to
 make any future payments for what Yates considered to be continuing
 unsatisfactory job progress and deficient work, as well as outstanding punch list
 items, which will increase Yates' back charges to Pro Lawns.

 Clearly, a dispute exists between Pro Lawns and Yates. It is not the role of the
 Sureties to resolve legitimate disputes. Therefore, as stated previously, the
 Sureties decline to make payment for your claim.

 If you have documentation that you believe would alter the Sureties'
 determination regarding Pro Lawns' claim, please forward it for my review.

 Please be advised that Our actions are taken for the purposes of investigation
 only. Nothing stated or unstated in this or any other correspondence is intended
 or should be construed as an acknowledgement of liability regarding this matter
 or as a waiver of any defense, known or unknown, which the Sureties and/or
 Yates may have with regard thereto, which defenses are hereby specifically
 reserved.

 Yours truly,
 Fidelity and Deposit Company of Maryland


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 Lawrence E. Kriss
 Claims Counsel
 Phone: 800-654-5155 x7
 Fax: 800-329-6105
 la. rry. kri.ss@zurichna.com

 cc:   W.G. Yates & Sons Construction Co., Inc. via email
       Travelers Casualty & Surety Co. via email
       Philadelphia Security Insurance via email
       Sam Kent via email
